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                                            HEARING MINUTES AND ORDER

Cause Number: CR-04-150-8

Style: United States of America v. Maria Reyna Romero-Bolina

Appearances:
Counsel:                                                   Representing:

Hays Jenkins, Jr.                                           Government
Lourdes Rodriguez                                           Defendant

Date: May 5, 2005                                          ERO: YES
Time: 12:15 p.m. - 12:45 p.m.                              Interpreter: R. delVillar

At the hearing the Court made the following rulings:

Pretrial conference held.

Defendant’s Motion for Continuance is GRANTED in accordance with the record in open
Court.

Amended scheduling order as follows:
Governments voir dire, jury charge, witness and exhibit list due May 31, 2005.
Defendant’s voir dire, jury charge, witness and exhibit list due June 6, 2005.
Jury selection and trial set for June 6, 2005 at 9:30 a.m.

In addition, the Court hereby makes Speedy Trial findings as follows:

Counsel for Defendant seeks additional time for analysis of the Government’s evidence
(including discovery and trial transcript of Co-Defendants trial) and for preparation of a
defense. Failure to grant the requested continuance in this proceeding will likely result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(B)(i). Thus, the interests of justice served
by granting the continuance outweigh the best interests of the public and the Defendant in
a speedy trial. 18 U.S.C. § 3161(h)(8)(A). The Court finds that a period of excludable delay
commenced on December 17, 2004 and will continue until trial in this matter. See 18 U.S.C.
§§ 3161(h)(8)(A) and (B).

SIGNED at Houston, Texas this 5th day of May, 2005.




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